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FILED INCHAMBERS

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United States District Court —. U.S.D.C. - Atlanta
NORTHERN DISTRICT OF GEORGIA. JUL 02 2019
JAMES N. HATTEN, Clerk
UNITED STATES OF AMERICA BY:AN~
wy! CRIMINAL COMPLAINT D&Puly Clerk
Case Number: 2:19-MJ-31
RICHARD PHILIPPE DER SEAL

I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about June 22, 2019 in Lumpkin County, in the Northern District of Georgia,
defendant(s) did, aid and abet the transfer of firearms to an out of state resident and travel between states
with intent to unlawfully deal in firearms,

in violation of Title 18, United States Code, Sections 922(a)(5), 924(n), and 2.
I further state that I am a Special Agent and that this complaint is based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a parthereof. Yes

Signature of Complainant
Emily K. Norris

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to before me, and subscribed in my
presence

 

 

 

July 2, 2019 at Atlanta, Georgia

Date City and State

JOHN K. LARKINS IIT i h

UNITED STATES MAGISTRATE JUDGE hh : : mw
Name and Title of Judicial Officer Signgture of Judicia Officer

AUSA Jennifer Keen / Enter USAO/LIONS No.
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AFFIDAVIT IN SUPPORT OF A COMPLAINT

I, Emily K. Norris, being first duly sworn, hereby depose and state as follows:

1. IamaSpecial Agent (SA) with the United States Department of Justice, Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) and have been so employed since 2018. I am
currently assigned to the Atlanta Field Division, Group I, which is involved in various
facets of ATF’s enforcement programs to include firearms trafficking. As a Special Agent
for the ATF, I have completed the Criminal Investigator Training Program at the Federal
Law Enforcement Training Center (FLETC) in Glynco, Georgia and Special Agent Basic
Training for the ATF. I am empowered by law to conduct investigations of and to make
arrests for offenses enumerated in Section 2516 of Title 18, United States Code. Prior to
my employment with ATF, I graduated from Mercer University School of Law in 2011
and obtained a Juris Doctorate degree. For approximately six (6) years, I was employed at
the Athens-Clarke County District Attorney’s office in Georgia as a prosecutor. While at
the District Attorney’s office, I litigated numerous major violent felony cases, including
those involving firearms allegations at the state level.

2. During my tenure as an ATF SA, I have participated in numerous investigations and the

execution of search warrants and arrest warrants, where illegally purchased/trafficked
firearms, books/ledgers indicating sales, receipts, computers, cellular telephones, and other
items used to facilitate firearms trafficking were seized. I have personally conducted and/or
assisted in investigations of criminal acts involving violations of Title 18, United States
Code, Sections 922(a)(5) [transfer of firearms to out of state resident] and 924(n) [travel
between states with intent to unlawfully deal in firearms].

3. During my tenure as an ATF SA, I gained experience in debriefing defendants, co-
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conspirators, witnesses, and informants who have been involved in the unlawful
purchase/sale/distribution of firearms. I have also debriefed individuals who were arrested
for possessing firearms in furtherance of violent and/or drug trafficking crimes. During
these debriefings, numerous defendants have advised that they utilized “straw” purchasers
to obtain firearms and ammunition for transfer/sale to prohibited persons or to facilitate
other crimes.

. A straw purchase is the acquisition of firearm(s) from a federally licensed firearms dealer
(FFL) by an individual (the “straw’’), done for the purpose of concealing the identity of the
true intended receiver of the firearm(s). The “actual purchaser” is often the person who is

prohibited from purchase who seeks to obtain the firearm through the “straw purchaser.”

. Based on my training and experience, and the facts set forth in this affidavit, there is
probable cause to believe that Richard PHILIPPE has violated Title 18, United States Code,
Sections 922(a)(5) [transfer of firearms to out of state resident] and 924(n) [travel between

states with intent to unlawfully deal in firearms].

. The facts contained in this affidavit come from my personal observations, ATF
records/documents, my training and experience, and information obtained from other

agents and witnesses.

PROBABLE CAUSE
On Friday, June 28, 2019, SA Patrick Briody from the ATF Bridgewater Field Office
(Massachusetts) contacted agents from Group I of the ATF Atlanta Field Division and
provided information regarding two firearms recently purchased by an undercover officer
that agents traced back to a Georgia Federal Firearms Licensee (FFL). SA Briody

conveyed the following to Atlanta agents in regards to the completed undercover
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transaction:

2. On Thursday, June 27, 2019, ATF agents from the Bridgewater Field Office participated
in an undercover operation in which an individual contacted an undercover officer by
telephone and offered to sell firearms to the undercover officer. The undercover officer
was directed to a residential address in Brockton, Massachusetts where he/she met with
an individual identified as Tyrell HAMPTON. HAMPTON was later confirmed by ATF
agents to be a convicted felon. The undercover officer purchased the following items
from Hampton in exchange for $2,200 in cash: a Taurus Model G2C, 9mm pistol, a
Glock Model 19GENS, 9mm pistol, along with 21 rounds of 9mm ammunition for the
firearms. ATF SA Jacob Berrick examined the above-referenced firearms and, through a
check of ATF databases, determined that both pistols had been purchased in Georgia
from Dahlonega Gold & Pawn, a federally licensed firearms dealer located at 7 Barrett
Cir, Dahlonega, Georgia 30533, in the Northern District of Georgia.

3. A review of ATF records revealed Austin LUMPKIN to be the original purchaser of the
two firearms recovered by ATF agents in Massachusetts. According to ATF records,

LUMPKIN purchased the Glock Model 19GEN5, 9mm pistol on June 12, 2019, and the

Taurus Model G2C, 9mm pistol, on June 21, 2019, from Dahlonega Gold and Pawn.
4. Based on my training and experience, the short time between purchase date and crime
recovery date (16 days and 7 days, respectively for the Glock pistol and Taurus pistol)
indicates that the firearms have been illegally trafficked.
5. On June 28, 2019, Industry Operations Investigator (IOI) Shaun Griffith contacted
Dahlonega Gold & Pawn to inquire about the purchase of these firearms. IOI Griffith

spoke to an employee from Dahlonega Gold & Pawn who told him that he/she was very
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familiar with LUMPKIN. The employee stated that LUMPKIN had purchased
approximately 100 firearms from their store in the past year. The employee explained
that LUMPKIN commonly purchased the same type of firearm because LUMPKIN told
employees that he used them to conduct online comparison tests on social media sites.
The employee stated that LUMPKIN had recently called the store to inform them that he
would be returning from vacation shortly and would be coming back to visit the store at
that time. IOI Griffith instructed the employee to contact ATF as soon as LUMPKIN
returned to the store.

. Later that same day, an employee contacted IOI Griffith and notified him that
LUMPKIN had returned to the store. SA Dorman contacted an employee at the store and
instructed him/her not to sell any firearms to LUMPKIN. The employee told SA
Dorman that LUMPKIN did not inquire about purchasing any firearms and only came
into the store to speak with employees.

. On Monday, July 1, 2019, SA Dorman and SA Nick DeGennaro made contact with
LUMPKIN and interviewed him in reference to his purchase of firearms from
Dahlonega Gold & Pawn. LUMPKIN stated that he had purchased approximately 150
firearms over the past two years. Of the approximate 150 firearms he purchased,
LUMPKIN said that he only had ten (10) or twelve (12) firearms remaining in his
possession. LUMPKIN explained that he shoots his firearms competitively, and also
compiles firearm review videos on social media sites.

. LUMPKIN stated that he buys rifles off an internet site called Outdoor Trader (ODT)
and pistols from gun stores, such as I-Pawn, Mikes, Cash America, and Dahlonega Gold

and Pawn. LUMPKIN stated that he shot his firearms and then sold them. LUMPKIN
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stated that he used to sell his firearms on ODT, but for the past three months he sold
them all to the same five (5) people. LUMPKIN could only recall the names “RICH”
and “TWIN” as the individuals who purchased firearms from him.

LUMPKIN claimed that he sold “RICH” broken firearms and had “RICH’s” phone
number stored in his phone. LUMPKIN provided the agents with “RICH’s” phone
number. LUMPKIN explained that “TWIN” is his cousin (not a blood relative) and that
“TWIN” introduced him to “RICH.”

SA Dorman asked LUMPKIN about his firearm purchases on June 21st and June 24th.
SA Dorman showed LUMPKIN a copy of the ATF Form 4473 (Firearms Transaction
Record) from June 21, 2019. LUMPKIN acknowledged that he purchased multiple
firearms and verified that it was his signature on the form. LUMPKIN stated that after
he purchased the firearms, he shot them and subsequently sold them to “RICH.”
LUMPKIN stated that he has met “RICH” in person on multiple occasions. LUMPKIN
described ‘RICH” as being a well-dressed, short, “lanky” older black male with a
Haitian accent and gray in his beard. LUMPKIN stated that he believed “RICH” lives in
Georgia and drove a newer model white Ford F250 pickup truck.

SA Dorman asked LUMPKIN why he went to Dahlonega Gold & Pawn on Friday, June
28, 2019. LUMPKIN stated that he needed to return to the FFL to complete a form from
the June 21, 2019 purchase. LUMPKIN believed a staff member misplaced a form he
completed for the June 21, 2019 sale of firearms and was returning at their request.

SA Dorman asked LUMPKIN why he went to Dahlonega Gold & Pawn on Saturday,
June 29, 2019. LUMPKIN stated that he was going to buy firearms which he knew

would be transferred to “RICH.” LUMPKIN stated that employees told him that he
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could not purchase any more firearms.

SA Dorman asked LUMPKIN if he told “RICH” or “TWIN” that he was advised by
staff at Dahlonega Gold & Pawn that he was not allowed to purchase anymore firearms
from them. LUMPKIN stated that he did tell “RICH,” “TWIN,” and his sister that he
couldn’t buy any more firearms.

SA Dorman asked LUMPKIN if he recalled purchasing approximately 30 firearms from
Dahlonega Gold & Pawn in May of 2019. LUMPKIN stated that he did and that the total
purchase of the firearms totaled approximately $7,000.00 dollars. LUMPKIN stated that
all of the firearms except one were purchased by “RICH.” LUMPKIN said that the
multiple firearms purchase occurred over a period of approximately five days and that he
made multiple in person sales to “RICH.” LUMPKIN said that “RICH” paid him for the
firearms using cash and had also provided him money using PAYPAL.

According to ATF databases, LUMPKIN is not licensed as a firearms dealer.

SA Dorman provided “RICH’s” phone number to an ATF Intelligence Research
Specialist (IRS) who located a person associated with that number named Richard
PHILIPPE (DOB: 09/05/1979). SA Dorman received a color digital photograph of
PHILIPPE. SA Dorman showed the photograph which contained no identifying
information to LUMPKIN. LUMPKIN reviewed the photograph and stated that he
recognized the depicted individual to be the person he knew as “RICH.” “RICH” was
identified as Richard PHILIPPE.

According to a review of PHILIPPE’s driver’s license, which is active and not expired,
he is a resident of Massachusetts with an address of 3 Eden Terrace, Attleboro,

Massachusetts. A review of his criminal history shows arrests in Massachusetts and
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Rhode Island.

SA Dorman asked LUMPKIN if he thought PHILIPPE would meet him to purchase
more firearms. LUMPKIN stated that PHILIPPE would meet him ifhe told him he had
more firearms to sell. SA Dorman asked LUMPKIN if he would place a consensually
monitored telephone call to PHILIPPE and offer PHILIPPE additional firearms.
LUMPKIN agreed. LUMPKIN acknowledged that all of the firearms that LUMPKIN
had purchased in the past four months were subsequently sold to PHILIPPE. LUMPKIN
estimated that he sold PHILLIPE approximately 50 firearms and received approximately
$11,000.00 dollars in compensation from PHILIPPE.

A review of ATF records revealed that LUMPKIN purchased approximately 97 firearms
from Dahlonega Gold and Pawn in the last four months, since March of 2019.

SA Dorman asked LUMPKIN if he thought PHILIPPE would consider it strange for
LUMPKIN to tell him he now had firearms to sell after being told he couldn’t purchase
anymore firearms the previous Friday. LUMPKIN stated that he did not because
PHILIPPE called him the previous night (June 30, 2019) and requested that LUMPKIN
acquire more firearms for PHILIPPE to purchase. SA Dorman asked LUMPKIN again if
he would be willing to make a recorded phone call to PHILIPPE, and LUMPKIN said
that he would.

LUMPKIN called PHILIPPE at 774-203-6780 and explained to him that he was in
possession of Glock firearms. PHILIPPE asked LUMPKIN if he was allowed to buy
firearms again, and LUMPKIN said yes. PHILIPPE told LUMPKIN that he would pick

up the firearms on Wednesday, July 3, 2019. PHILIPPE and LUMPKIN agreed to meet

| in Atlanta, Georgia. PHILLIPPE said that he was “coming down.”
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23. On July 2, 2019, LUMPKIN told SA Dorman that he sold firearms to PHILIPPE on or
about June 22, 2019 at a location near Yahoola Creek, Dahlonega, Georgia, in the
Northern District of Georgia. Based on the timing, agents believe that these firearms
would include the Taurus and Glock pistols purchased by LUMPKIN and recovered in
Massachusetts on June 28, 2019, as mentioned in paragraph 1.

24. ATF agents in Boston interviewed a person of interest, who stated that he previously
purchased firearms on five different occasions from PHILIPPE at a warehouse in
Massachusetts that PHILIPPE utilized to sell firearms. The person of interest stated that
PHILIPPE obtained the firearms to sell from Georgia.

25. Based on ATF databases, PHILIPPE does not have a license to deal in firearms.

26. Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of Title 18, United States Code, Sections 922(a)(5) [transfer of firearms to out
of state resident] and 924(n) [travel between states with intent to unlawfully deal in

firearms] have occurred.

CONCLUSION

Based on the facts above, there is probable cause to believe that PHILIPPE has violated
Title 18, United States Code, Sections 922(a)(5) [transfer of firearms to out of state resident]

and 924(n) [travel between states with intent to unlawfully deal in firearms].
